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                                                                                     EXHIBIT 2


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                 IN THE UNTIED STATES DISTRICT COI.T.RT
               FOR THE SOUTHERN DISTRICT OF mississert
                          NORTHERN DIVISION

 ANGELA RUSSELL, AS
 ADMINISTRATIX OF THE ESTATE
 OF JEREMY T. RUSSELL AND ON
 BEHALF OF THE WRONGFI1,                        CASE NO. 3:22-CV-294-HTW-LGI
 DEATH BENEFICIARIES OF •
 JEREMY T. RUSSELL

        Plaintiff

  v,

  MANAGEMENT & TRAINING
  CORPORATION; JOHN AND JANE
  DOE CORRECTIONAL OFFICERS;
  VITALCORE HEALTH
  STRATEGIES, LLC; EVELYN. DUNN;
  STACEY KITCHENS' WILLDI
  BRZIER; and JOHN AND JANE DOE
  MEDICAL PROVIDERS

        Defendant(s).


                          EXPERT REPORT STEVE LANGFORD.

 L      INTRODUCTION

 My name is teve Langford and I have been retained by the law firm of Adams and Reese UP to
 examine issues concerning the stü. cide of Jeremy Russell. Jeremy Russell was a. 21 -year-old
 medium security male inmate bowed at East Mississippi Correctional Facility.
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 On October 7, 2021, Mr. Russell wrs housed in unit 7, an acute care unit often referred to as Camp
 Support. On October 7, ai approximately 1123 hours, he was observed by Captain McClinton
 sittin.g on his bunk with a bed sheEt fashioned round his neck and tied to the top bunk. He was
 observed to be non-responsive to v2.!rbal com mands. A radio call was made for medical assistatice.
 At approximately 1126 hours, Lieutmant Ashley Ray and Sergeant Robinson arrived on scene.
 MeClinton, Ray, and Robinson enti:Qx1 the cell, fifted bis body to relieve pressure on bis neck, cut
 the sheet, placed bim on the ground, and began to administer CPR. At approximately 1130 hours
 medical stati' (VitalCore) arrived n scene, placed him on a gurney, assumed responsibility for
 administering CPR, and transpo-Ted Mm to the medical department, where he arrived at
 approximately 1133. At approximately 1139 boura, Metro Ambulance Servi ces arrived at the
 facility. At approximately 1145 11urs lie was pronounced dead by Metro Ambulance Services
 staff.

 Specifically, I have been retaineci to offer expert opinions conceming the facts of this case.
 Plaintiffs' claims and MTC' s defčmses, . suicides in a prison setting and their preventability,
 prevaience of contraband in a prisoi . setting despite extreme rneasures to eliminate the same, rates
 of pay for correctional officers na.t:41)nwide, and staffing issues in prisons nationwide.

 After examin.ing various documen•:s and conducting research as detailed herein, it is my
 professional opinion that the actiors of MTC staff were not the prox.imate cause of the death of
 Mr, Russell.


         QUALIITCATIONS
   have attached my professional curriculum vitae to this report, which iricludes alt the current
 education, training and experience         u.pon in reaching the opinions offered iii this report. To
 the extent requested or necessary, I.will update this attachment after issuance of this report.


 HL     RETENTION
  was retained for this engagement ii May, 2023. I did not reach any conclusions until completing
 my evaluation of the information :and documents identifted in this Report. I have never been
 employed by the State of Mississi-ppi, The Mississippi Department of Corrections, Management
 & Training Corporation, or VitalCore. My rate of compensation for this engagement is 5200 per
 bour for document review and repr: preparation. Should court testimony- be required, my rate of
 compensation will be $350 per hou«.

 IV.     METBODOLOGY
 To facilitate my review, I examined 111depositions and exhibits listed in attachment B.
 Additionally, I conducted research to address the issues for which I was retaíned. To the extent I
 relíed on such research in preparinú this report. I have included those items in attachment B as
 ~11.




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 V.       FACTUAL BACKGROUN D

      On October 4, 2021, Jeremy Ru.;ellwas placed on non-acute suicide watch by VitalCore
      staff. On October S, Mr. Russe[:;. was examined by NP Evelyn Dunn, ari employee of
      VitalCore. Attributing     RusEiell's problem to "bebavi oral issues — as opposed to mental
      health problems —and acting fu:17 within her authority, she directed that he be discharged
      from non-acute suicide watch aAd instead be housecl in Unit 7, often referred to as Camp
      &ippon, No property restrictiohs were either mandated or recommendeci by VitalCore staff.


      Relevant to this analysis is Rus:tell's frequent use of drugs. In her deposition, NP Evelyn
      Dunn, relates that Russell advind "he uses drugs — daity. even prior to prison" (page 119:I).
      Additionally„ his drug use during and prior to his incarceration are referenced in medical
      records, attached as exhibits to Dunn's testimony and other medical records produced in
      discovely.

      To reconstruct the events of Occiber 7, I relied ori timelines provided by Captain Michael
      MeCli:nton in his email dated 07:::ober 7, 2021 and sent at 1:16 pm (MTC 000048 and MTC
      000049), the tirneline identified. s exhibit 7 (MSTC 0000068 and MTC 0000(i9), a
      memorandum from Sandy Toi.visend, IntecTity Investigator dated October 15, 2021 (MTC
      000075 and MTC 000076), and .Region III Incident Report dated October 7, 2021 (MTC
      001283). While there are slight. differences in the timeline (e.g., exhibit 7 has Lieutenant
      Ashley entering unit 7 at 1124 hours, while Captain helcClinton's Rezion III incident report
      notes she entered the unit at l I2‹. hours), ali time discrepancies are mi:nor in nature and have
      no material effect on n3y analys:i.f or condusions,

         The following is the timelirw:


         0852 hours: Officer Roxi WAllace entered Unit 7 camp support and conducted
         count/security check.

         0853 hours: Officer Roxie Wdlace exited Unit 7 camp support.

         0930 hours: Sergeant Marcu; Robinson and Nune Lynn Portis entered Unit 7 camp
         support and conducted pili ca11„ no security check conducted.

         0936 hours: Sergeant Marci '3Robinson and Roshanda Davis entered Unit 7 Čamp support
         went to the 2nd cell from en•rv, on left, and spoke with the inmate in that celi

         0938 hours: Sergeant Marcu S Robinson and Lynn Portis exited Unit 7 camp support

         0939 hours: Sergeant Marcus Robinson and Nurse Roshanda Davis went to 2ind cell on
         right from the shower when?: the inmate's cell door was open and spoke with inmate



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      0940 hours: Sergeant Marcus! Robinson and Mental Health Roshanda Davis went to cell of
      Inmate Jeremy Russell #201C2

      0944 hours: Sergeant MarcusiRobinson and Mental Health Roshanda Davis exited the unit

      0949 hours: Sergeant Marcus Robinson entered Unit 7 camp support to move inmate
      Archie Knight, no rounds or ;:3ecurity checks were conducted

      1000 hours: Count time, no count nor security check conducted

      1120 hours: Captain Michael McClinton and Nurse Shana Carter entered 2"d cell on right
      to give medication

      1122 hours: Captain Michael McClinton and Nurse Shana Carter went to Inmate Jeremy
      Russell's (4201802) cell, Findi inmate hanging inside his cell

      1123 hours: Medical Assistance called

      1124 hours: Lieutenant Ashley Ray enters Unit 7 camp support Sergeant Marcus
      Robinson and Nurse Penny ]E400kshire enter Unit 7 camp support

      1125 hours: Sergeant Smith. lursc Williams and Nurse Portis enter Unit 7 camp support

      1126 hours: Major Justin Rowell and Nurse Penny Brookshire enter Unit 7 camp support

      with the stretcher. Warden Thc,tor Portillo and Lieutenant Winston enter Unit 7

      camp support

      1127 hours: Lieutenant Ashley Ray and Major Justin Rowell enter cell and bring Inmate

      Jeremy Russell #201802 out bf the cell and place him on the stretcher

      1131 hours: Security and medi cal staff exit Unit 7 camp support

      1133 hours: Russell arrives m Medical Services

      1139 hours: Metro Ambulaniul Services arrives at the facility

      1145 hours: Mr. Russell is ptcnotinced dead by Metro Ambulance Services staff

      On this day, Wallace was assigned to Unit 7 (Camp Support) as "Floor" and Robinson
      was assigned as the Control Officer (this unit has a control unit, which EMCF staff refer to
      as the "picket"). Typical duties for the floor position would be conducting security checks,
      delivering meals, supeMsing orderlies, handing out cleaning supplies, etc. Typical duties
      for the Control Officer wou:61 be to run the electronic cell door locks, handle


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      administrative duties, and prc.qvide general oversight of the unit. It should be noted that
      Robinson's deposition notes iibe control room does not allow the staff member to see into
      the cells,

      From the above, we can verif,r that Mr. Russell was viewed, alive, by Robinson and Davis
      at 0940. Further, the timeline indicates that after Mr. Russell was viewed alive, the unit
      was =staffed from 0944 to 0'949 (5 minutes) and from 0949 to 1120 (a total of 91
      minutes). Further, the timelirt,:e notes that neither security checks nor a count was
      conducted. The vacating of the posts is attributed to Wallace being pulled from her post to
      participate in a medical transport and that Robinson was pulled from the unit first to escort
      inmate Knight to another unit, and then to respond to a disturbance in another housing unit_



VI.    EXPERT OPINIONS

      PPINION NO. 1

      Based upon my review of the relevant information and documentation, it is my opinion
      that the actions of EMCF stet' on the day of Russell's suicide were not the cause of
      Russell's death.

      The European Journal of Epid erniology notes that suicide in general is a major health
      concern, with nearly 800,000 people globally committing suicide every year; among those
      aged 15-29 (this is Mr. Russel 's demographic) it is the second leading cause of death.
      Within state prisons, the °ill& of Justice Programs, Bureau of Justice Statistics indicates
      suicide in State Prisons have risen from 14 per 100,000 to 27 per 100,000 from 2000 to
      2019, an increase of 92,9%. The report further noted that 75.3% of suicides were affected
      in the inmate's cell and 87.4c.:. occurred by suffocation (includes hanging, strangulation,
      asphyxia, anoxia., and other methods of reducing oxygen intake). Finally, the National
      Institute of Corrections note that in 79% of suicides, it took over 1$ minutes to discover
      the body.

      While one may debate whether Mr. Russell should have been on suicide watch, what is
      beyond debate is whether East Mississippi Correctional Facility staff' were responsible for
      such a decision. Sound corredtional practices mandate that such determinatioes be left to
      qualified personnel, specific41:1 the appropriate medical staff from VitalCore, who
      operates the Health Services Department under a contract directly with the Mississippi
      Department of Corrections. Th.s simply cannot be over-emphasized; the decision as to
      whether to place one on suicide watch, keep one on suicide watch, or discontinue one
      from suicide watch must he riade by qualified medical personnel. Security personnel
      simply lack the requisite training, detailed medical history of the subject, treatment plan,
      progress towards that treatm plan, and motivations and mind set of such subjects.

      Likewise, one may debate whether there should have been property restrictions on Mr.
      Russell, specifically whether,:considering his medical history, he should have been


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      allowed to have a bed sheet Note, and as Captain McClinton detailed in his deposition,
      the decision to restrict prope-!ty for mental health reasons must be made by qualified
      mental health personnel. This contrasts with the responsibility of security staff to restrict:
      property for security reasons-. An example here would be if security staff decided to
      restrict an inmate from having a sheet if he had used the sheet to start a fire in his cell.
      This too cannot be over-emphasized, sound correctional practices mandate that decisions
      concerning the restriction of' property for mental_health realm must be made by qualffied
      medical personnel for the saline reasons detailed above.

      Indeed, VitalCore's Suicide Prevention and Intervention policy explicitly states, "Suicidal
      inmates are evaluated prompl y by the designated health professional, who directs the
      intervention and ensures foLiZes, up as needed" (VC00006). Elsewhere in the same policy,
      in a section. titled "Referral of Potentially Suicidal or Suicidal Patients", it notes "the
      medical or behavioral health professional may take appropriate clinical intervention when
      determining that the incarcerated person is at risk of harm to self or others, or in need of
      more intensive behavioral hath interventions" (VC00014). Referencing the same policy,
      in the section titled "Disposition" it clearly states that a QBHP (Qualified Behavioral
      Health Professional) is respahsible for determining whether a patient "presents no
      evidence of psychological distess," determining "that the patient is distressed, agitated,
      and/or anxious, but not a suicide risk" and, determining "the patient is in danger of self-
      harm.'" In the latter two instances, it notes consultations and recommendations are to made
      to appropriate medical staff (Yiysicians, psychiatrists, psychiatric staff, and mid-level
      providers) (VC00014),

      It is prudent to note that East Mississippi Correctional Facility has a policy concerning
      "Suicide Precaution, Intervention, an.d Management" (MTC000120), but in as much as
      they do not hold the contractl-D provide medical services (VitalCore does), that policy is
      obviously superseded by Vittli:;ore's policy.

      Further, the fixation on the sheet is a bit of a red herring; parsing data contained herein,
      slightly over 12% of suicides are the result of something other than suffocation, and where
      suffocation is the manner of death, the act could have been facilitated by any number of
      items (e.g., pants, shirts, belts, shoelaces, etc.).

      One's attention may also be ,:.'rxwn to the delay (approximately 2 minutes) between the
      discovery of Russell being un-responsive to McClinton's verbal commands and the
      decision to enter his cell. Mcc,iriton. attributes the delay to his decision to wait for
      additional staff to arrive before entering the cell. This is entirely appropriate; sound
      correctional practices stipulate the cell of a non-compliant inmate should only be entered
      when sufficient staff are available to enter the cell safely. Indeed, in his deposition (page
      Iii) McClinton testified to s previous incident where an inmate faked his hanging: "and
      when the door came open, guess who was standing on the ground —ready to fight. The
      inmate."

      Thi.s opinion is supported by -te evidence detailed herein, including depositions and
      exhibits, and data collected from the National Library of Medicine; Office of Justi ce


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     Programs, Bureau of Justice Statics; National Institute of Corrections; and emails from
     Management and Training Corporation staff. Therefore, based on my nearly three decades
     of experience within the profession and 23 years of experience at the Executive Staff level
     (the Executive Staff are the chief administrators of a facility), training, education, and the
     facts identified above, it is my firm opinion that the actions of MTC and its employees did
     not cause the death of Russa

     VLF.     -1"220)(0:AN Nsk. 2

     Based upon my review of the relevant information and documentation, it is my opinion
     that the shortage a staff on the day of Russell's suicide was not the cause of Russell's
     death.

     Particularly in the wake of COVID-19, staffing of prisons has been difficult, to say the
     least. A 2022 National Institen of Corrections report titled Effects of COVID-19 on
     Prison Operations "notes that many facilities note they are operating at "significantly
     reduced staffing capacities", with many jurisdictions "in full crisis mode" with officer
     vacancy rates in some prison k;approaching 50%. A December 1, 2019, National Institute
     of Justice article likewise notes vacancies in the range of 50%, with some state prisons
     reporting staff turnover as high as 55%. A May 22 letter from the President of the
     American Correctional Association (posted on ACA's website) notes staffing shortages
     are having a "crippling impact', with applications for correctional officer positions
     declining 64% in recent year,

     East Mississippi Correctional Facility has certainly not been immune to these difficulties.
     Indeed, as indicated in Management & Training Corporation's Responses to Angela
     Russell's second Set of Reqtrasts for Production, the facility paid nearly $187,000 in fines
     to the Mississippi Department of Corrections for unfilled posts.

     McClinton and Wallace likewise noted these staffing challenges in their depositions.

     I offer the foregoing not to esicuse the vacating of posts, or diminish the frequency with
     which they occur, merely to offer context. The manner and frequency with which this
     occurs is not the operative question, however. The operative question is whether the
     staffing compliment on October 7 was the cause of Russell's death.

     As McClinton testified in his deposition, a full complement for the day watch shift on
     October 7 was 34, with 32 staff present for duty that day (41;11). On the day in question,
     Wallace (assigned to the flare- 1 position) testifies in her deposition (15:6) that her usual
     co-worker, J. Key was pulled from her assignment for a medical transport, with Robinson,
     working overtime, assigned tit) fill Key's control post. Wallace was subsequently pulled
     from her post for another medical transport, leaving the unit vacant from 0853 to 0930,
     when Robinson arrived on pciet, a period of 37 minutes. Robinson subsequently exits the
     unit 0938 and reenters at 093). leaving the unit vacant for 1 minute. At 0940, Russell is
     seen alive by Robinson and nevi& Robinson and Davis subsequently depart the unit 0944.
     Robinson returns at 0949 to is zort inmate Knight to another unit, indicating the unit was


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      vacant for 5 minutes. The timeline reflects him departing the unit at 0949 and the unit
      remains vacant until McClirton and Caner arrive at 1120, leaving the unit vacant for a
      total of 91 minutes. Inmate Russell is found in his cell at 1122_

     To examine whether the absence of staff in the unit was the cause of Russell's death, let's
     consider what the situation would have been had both assigned officers been in the unit for
     the 91 -minute period detailed, above_ Robinson would have been in control, a location
     which affords no direct obseNation into the cells according to McClinton's testimony. As
     such, even if present and performing his duties as assigned, he would not have been able
     to prevent Russell's suicide.

     Now we turn to Wallace. Would her presence as the floor officer in the unit have
     prevented Mr. Russell from committing suicide? Before proceeding, consider a paper that
     was published in the Journal ee'Forensic Sciences titled Further Observations on the Speed
     of Death in Hanging.. which rotes that consciousness is lost at 13 seconds, convulsions
     begin at 15 seconds, and a ceseation of respiration occurs at 2 minutes. The paper also
     cited another study that noted the asphyxial process lasted only 2 minutes and 43 seconds.

     As reflected in the post orders ror Unit 7 Acute Care unit, Wallace's duties include
     conducting 30-minute rounds zt an irregular interval to ensure offender safety and well-
     being. It should be noted that the this does not require the officer to make rounds every 30
     minutes, however. Indeed, use of the word "in-egular" specifically prevents this. Within
     the corrections profession, tbe above would mean that a round is conducted within every
     30-minute block of time, though some facilities may impose a "not to exceed
     requirement", such that no mere than 40 minutes transpires between rounds (MTC post
     orders don't specify a not to exceed requirement). As an example, in the first case if one
     were to conduct a round at 10100 hours, the next irregular inspection would have to occur
     anytime during a 30-minute period encompassing 1030 hours and 1100 hours. As such,
     one could have as much as 5C minutes between the start of 2 sets of rounds. Under the not
     to exceed example, if one wePe to conduct a round at 1000 hours, the next round would be
     required no later that' 1040 beers, allowing for up to 40 minutes between rounds. The
     reason for the irregularity of rounds is based on sound correctional practice, as one does
     not want inmates to be able te dial in to officer routines.

      Inasmuch as Wallace, acting fi.Jiy within her duties as detailed in her post orders, and in
      full comportment with sound e3rrectional practices, could have taken as much as 40 to 59
      minutes between rounds, it is not possible to attribute fault to her for an event that could
      have transpired in as little as t minutes to 2 minutes and 43 seconds.

      East Mississippi's considerable efforts to improve staffing are noteworthy. To address
      staffing challenges across all t-,; facilities, Management & Training Corporation has
      created a "employee experienice department." Pilot facilities (EMCF was not in the pilot
      program) saw overall hiring ieicrease at half of the pilot facilities, overall applications
      increasing 29%, and experienced a 35% drop in the time from application to interview.
      These recruitment measures were undertaken by MTC on January 16, 2021 Since
      assigning a veteran recruiter with years of experience in corrections, EMCF has seen a
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      78% increase in applications and a 324% increase in new hires. Additionally, to show
      appreciation for staff and enance recruitment and retention, TV1TC paid over $184,000 in
      bonuses in December 2002. further, to address call-offs (staff not reporting to work for
      their assigned shifts) during 'periods that traditionally experience high call -offs, East
      Mississippi implemented a oktvel program_ As an example, staff were eligible to receive
      bonuses ranging from $50 per day to $150 per day if they showed up for work on
      December 24, 2022,, December 25, 2022, January 31, 2022, and January 1, 2023. These
      efforts have proven effective.; according to a 12/6/2022 memo from Warden Donald
      Jackson to Kerry Dixon, re: Thanksgiving Holiday Pay, MTC was able to avoid
      approximately $8,000 in fines for vacant posts on November 24 -25, 2022. Finally, the
      starting wage for corecti omit officers was raised from $12 per hour to $16 per hour, an
      increase of 25%, in Yannaiy N23.

      This opinion is supported by:the evidence detailed herein, including depositions, exhibits,
      post orders and data collected from the National Institute of Corrections, National Institute
      of Justice, American Correctional Association, Journal of Forensic Sciences, and ernails
      from Management and raining Corporation staff Therefore, based on my nearly three
      decades of experience withir lie profession and 23 years of experience at the Executive
      Staff level (the Executive Staff are the chief administrators of a facility), training,
      education, and the facts ideritiied above, it is my firm opinion that staffing shortages at
      EMCF on October 7, 2021, dii not cause the death of Russell.

      VIM OPINION No. 3

      Based upon my review of the -eleva.nt information and documentation, and given my
      experience and lack of inedi01 training, I atri unable to from an opinion to the degree
      which, if any, Russell's admitted drug use while in prison —and extensive history of drug
      use which pre-dated and contilued while he was incarcerated — was a factor in his suicide.

        would surmise that contraband in prisons is as old as prisons themselves and it is
      obviously a concern that remiains to this day. Corrections magazine published research
      from a. 2018 National Survey of Correctional Contraband, which gathered data from 301
      prisons across six state departments of corrections, that found that prisons recovered an
      average of 34 weapons, 31 cell phones, and 28 controlled substances over the 12-month
      study period. The authors orlthe report also cited various studies detailing the prevalence
      of contraband in prisons: ThCs California Department of Corrections reports over 15,000
      cell phones were confiscated:il 2011, a ten-fold increase in the number seized in 2007;
      and data from a survey of 44 states found cell phone discoveries were particularly high in
      southern states. An article it USA today notes that the Federal Bureau of Prisons
      confiscated 5,116 phones fro* its facilities in 2016, with the number of confiscations
      increasing 28°A in the first half of 2017_ The problem is truly global in nature, with a
      secondary study published ir Wires Forensic Science, which was based on 81 studies from
      22 different countries, finding the average prevalence of drug use is 32%, with a range
      from 3.4% to 90%_




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      Contraband, defined as any i6rris unauthorized by prison administration, is introduced into
      prisons in a myriad of ways, ranging from mail, through the visiting room, brought in by
      contractors and volunteers, thrown over the fence, vendor shipments into the prison, drone
      drops, in the property of ne1.14 transferred inmates, and, unfortunately, dirty staff Indeed,
      in the National Survey of Coirac'cional Contraband noted above, over 70% of respondents
      reported security staff bringi es in contraband was somewhat of a problem to a big
      problem.

      As noted in her deposition, Dunn states that Russell admitted his drug use during clinical
      encounters, averring that he vas a daily user of drugs, even prior to prison and admitted to
      using Spice on October 4, 20t (119:1).

      East Mississippi Correctional Facility has not been immune to the issue of contraband. As
      detailed in Management & Mining Corporation's Second Supplemental Responses To
      Plaintiffs First Set Of Interrogatories and additional information provided by
      Management and Training Corporation, EMCF identified 23 staff who were terminated
      for bringing illegal contrabaid into the facility from July, 2013 to August, 2022.

      East Mississippi Correctional Facility has taken robust measures to address contraband,
      including a complete turnover in facility leadership (Warden, Assistant Warden, and
      Major) in late 2021, an increase in the use of canines at entry points, and increasing
      unannounced searches of inreate living areas and staff vehicles.

      As indicated., based :my expeti,ance and lack of medical training, I am unable to form an
      opinion to the degree which, if any, Russell's admitted drug use while in prison — and
      extensive history of drug use:arior to his incarceration and which continued while he was
      incarcerated — was a factor i a his suicide_ It is prudent to note, however, that staff
      employed by MTC are similarly unable to make such a determination. This is consistent
      with the protocols, which manda.te only qualified medical staff are authorized to place one
      on, continue one on, and remove one from suicide watch. Further, it should be noted that
      the person most aware of hisanedical history, mental state, and history of — and continued
      - drug use was Dunn, who testified in her deposition that placement in Camp Support was
      appropriate and that Russell 'a placement on suicide watch was unwarranted.



      IX.01:INION No. 4

      Based upon my review of the relevant information and documentation, it is my opinion
      that the rates of pay experienced at the time of Russell's suicide was not the cause of his
      suicide.

      According to the Bureau of Labor Statistics, the May 2022 mean national annual wage for
      a for correctional officers arid jailers was $54,760, with median at $49,6 i 0, Wages of
      $35,520 represent the 10th percentile, $39,850 the 25 percentile, $64;110 the 75Th
      percentile, and $82,600 the .0C.th percentile.


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        At the time of Russell' s dea:El, the rate of pay for East Mississippi Correctional Facility
        correctional officers was $7:t per hour ($24,960 annually), placing at the low end of the
        bottom decile.

        To address the issue of pay, As well as increase staffing levels, East Mississippi
        Correctional Facility has aggressively increased starting pay for correctional officers from
        $12 per hour to $16 per hod, an increase of 25%, in January 2023,

        Tn labor markets, it is axiomatic that higher wages will increase interest of job seekers,
        increasing the applicant poci, and the quality of that pool relative to lower wages. As such,
        it is prudent to assume that higher wages at the time of Russell's suicide would have an
        increased both staffing and th,a quality of staff. However, that is not the issue here, as it
        has been demonstrated that neither the actions of MTC staff nor staffing shortages were
        the cause of Russell's death,

        This opinion is supported by the evidence detailed herein, including data from the Bureau
        of Labor Statistics, and ernaiii communications with Management and Training
        Corporation staff, Therefore, based on my nearly three decades of experience within the
        profession and 23 years of etperience at the Executive Staff level (the Executive Staff are
        the chief administrators of a. facility), training, education, and the facts identified above, it
        is my firm opinion that rates:of pay on October 7, 2021., did not cause the death of Russell.

  X.     CONCLUSION

          I very much appreciate the (..)pportunity to work with the Mel and women of Management
  & Training Corporation East Mississippi Correctional Facility who assisted greatly in providing
  information used in the preparation, of this Report and I appreciate their dedication to serving the
  State of Mississippi.

                    N_OT instructed, required, or paid any additional compensation to reach any
  particular conclusions or directed lab make any speeific findings, as the above represents my own
  conclusions. The opinions identified above are based upon my independent professional review
  of the particular facts in this case. IVI:yr compensation is not dependent upon the results obtained in
  this action. Nevertheless. I an pneDared to testify before the applicable court regarding these
  opinions.

         I reserve the right to suppleMent or revise my report and my opinions in the event that
  new or revised information becomes available.


  06/02/23
  Date                                                           Stephen Langford




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                           APPEN111,,i_A — CURRICULUM VITAE



 Professional Summary
 Formerly a member of the federal governments Senior Executive Service with over twenty-nine
 years of corrections experience in tb!e Federal Bureau of Prisons and private secure services,
 including over twenty-two years executive staff experience. Have worked directly in processing
 centers, high, medium, and low searity institutions with oversight of minimum-security
 institutions. Extensive experience effecti.vely managing budgets in a prison environment,
 including for profit operations.

 Comprehensive Knowledge of:
 Large scale ICE Processing Center           Performance Based National Detention
 Operations                                  Standards (PBNDS)


 Large-scale prison operations               Management of large budget, multi cost center
                                             operations

 Coalition Building                          Conflict Resolution

 Labor Management Relations                  Prison Industrial Operations

 ACA Certified                               Conflict Resolution

 Corrections Executive                       Community Relations

 Communicating Expectations                  Variable, Marginal, Step-Fixed, and Fixed Costs

 PREA                                        Perpetual Audits
 Work History
 Premier Corrections Consultants, LLC (PCC)
 Chief .financial Officer! Hattiesburg,MSIJuly 22 to Present
    • Founding member of a conaiting group that provide services pertaining to the field of
         corrections.
    • Successfully built a team of itcrtrier federal and county subject matter experts.
    • In this capacity, 1.direct and obtain expert witnesses.
    • Have served, and am current iy serving, as an expert witness and corrections consultant.

 Central Valley Afinex
 Facility Administrator !McFarland, L'A IJanuary 2021 —July 2021


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     • As the chief administrator et the facility, I directly supervised five staff that were
       responsible for supervising 140 full-time staff. Central Valley operated under a contract
       with the U.S. Marshall Service and housed 150 detainees in pre-trial, pre-sentencing
       status. Additionally, the fad, fly provided transportation services to and from courts, and
       airports.
     • I joined the facility during is-1.:s
                                        activation stage and successfully prepared the facility to
       receive detainees. This induced establishing policies, procedures, and post orders;
       training of new staff; hardening the institution; developing a strong working relationship
       with the client; establishinp .ties with influential members of the community; establishing
       contracts with vendors; placement and coverage of cameras; the establishment a
       Correctional Emergency ReVonse Team (CERT); the creation of an armory; the
       establishment of a staff recognition program; implementation of programming
       opportunities for detainees; and creating an intelligence program,
     • Established procedures for gnd conducted use of force reviews.
     • Developed policies and procedures to ensure PREA compliance.
     • Worked closely with the cli 01 and key facility staff to establish a program to screen
       detainees prior to arrival to ensure placement at the facility was appropriate.
     • Oversaw the expansion of the Restricted Housing Unit (RHU) and the creation of an
       outdoor recreation area for t;:c.leRtili.
     • Given the political environMent, corporate leadership decided a union presence would be
       an effective tool given their 'ability to effectively lobby lawmakers. To that end, I worked
       very closely with the Nation. Federation of Federal Employees and facility leadership
       and line-staff to successfully establish a union presence_


 Northwest ICE Processing Center
 Facility Administrator ITacoma, WA IJuly 2018 —January 2021
         • As the chief administrator of the facility, I directly supervised four staff that were
            responsible for supervisin.g approximately 400 full and part time staff. The Northwest
            ICE Processing Center is one of the largest ICE facilities in the nation, housing up to
            1,575 detainees. Annual revenues are approximately $65 million with annual direct
            labor costs of approximately $27 million.
         • Inheriting an institution that had historically underperformed in many areas, I
            immediately set about to change the culture, strategically focusing on four pillars:
            The institution is safe and secure for staff and detainees alike; The institution is ran in
            a manner that recognizes: the dignity, humanity, and rights of detainees; The
            institution, is ran in a mariner that exceeds the expectations of the client (ICE); The
            facility is ran in a marine that exceeds corporate financial objectives and that
            recognizes and rewards th s contributions of staff.
         • To better monitor institutional operations and train and develop subordinates, 1
            implemented the concept of an Executive Staff, consisting of the Facility

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         Administrator, Assistard ]Facility Administrator, Business Manager, Major, and
         Captain. This body conducts a daily close out Monday through Friday, where
         noteworthy events of the day are reviewed, progress towards established objectives
         are monitored, and the -..:.revious days labor usage is reviewed. Additionally, an open -
         up meeting is held each Monday morning where the Executive Staff is briefed by the
         off-going duty officer c(bncerrting events and issues from the previous week,
         including feedback froni •me staff and the Human Resources Manager provides an
         update concerning sta.ffi:rig. This meeting also identifies and reinforces any objectives
         for the week.
       • To address poor performance in the area of labor costs, I implemented robust
         procedures focused on rilanning, accountability, redundancy, and systematic review.
         For planning, I inculcata in key staff the notion that rosters are a weave of training
         schedules, leave schedu::.cs, appropriate staffing, and proper assignment of relief
         officers. To that end, these activities are meticulously planned prior to putting the
         roster out for bid. Further, I mandated that all rosters be scheduled three weeks in
         advance. Accountability: was accomplished by designating one Lieutenant per shift as
         the Shift Commander, snething that had not been previously done. This individual
         is responsible for plant]     the roster three weeks in advance, as well as reviewing the
         next day's roster and se,ading an email to all members of the Executive Staff
         identifying, by assigntrAit (e.g., specific post and remote post needs), any overtime
         needs. At the end of the,shift, the Shift Commander is responsible for sending another
         email to all members of.t le Executive Staff reconciling the previous days projected
         needs against actual usage and identifying the reason for any differences (e.g., call
         offs). Additionally, the Major reports to all members of the Executive Staff, on a
         daily basis, the previous days labor usage, detailing over usage, staff assigned to
         training, staff on schedded paid time off, staff on unscheduled paid time off, staff on
         FMLA, and all remote post assignments (suicide watch, constant watch, 10-minute
         watches, med trips, hospital watches, and asylum assignments). Finally, the Captain is
         required to complete a locally developed labor utilization report by 1:00 pm each day.
         This report was locally d weloped and ensures two primary purposes. First, it ensures
         all labor hours were eff.kiently utilized and there were no excess bodies on the roster.
         Second, it allows the monitoring of what I call "slippage", which is a term used to
         describe the time berwetn clocking in/out and arriving on/exiting one's post.
       • To demonstrate the neea for such intense focus on a labor usage. I showed
         supervisors, utilizing actual financial results, how a 1 per cent change in labor costs
         has a 7 percent change iin profitability in the opposite direction and that a I per cent
         change at our facility c6nstituted less than one full assignment per shift.
       • These focused efforts ail,swed the facility to outperform pre-tax profit expectations by
         nearly three quarters of!a million dollars, reversing a. four-year period where the
         facility had underperfottried against the budget by an average of $1.7 million.


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       •   A thorough review of the contract and an understanding of billing practices caused
           me to question the manner in which we were receiving compensation for remote
           posts. I brought this to the attention of my Regional Office who conveyed my
           concerns to GEO' s contracting department. As a result, over $.400 thousands of
           additional revenue was booked at the end of fiscal year 2018. Another such concern
           was raised and is curren4 under review and which may result in additional billings.
           Finally. I raised concerrei .n the manner in which transportation routes have been
           added over the years with no modifications to the contract. As a result, I drafted a
           three-option proposal that contracting has submitted to ICE.
       •   A comprehensive reviewi was conducted of all post orders within the first year. Post
           orders were reviewed using a four-tiered approach, with two-man teams of
           supervisors conducing ari initial review, consulting with line staff and making
           recommendations, with P..eciond and third level reviews conducted independently by
           the Major and Assistant lenity Administrator prior to submission the Facility
           Administrator for a fourth and final review.
       •   Chaired the group of ke staff that reviewed all uses of force
       •   Successfully helmed the institution through multiple audits, including ACA, PREA,
           and Performance Based National Detention Standards (PDNDS) audits.
       •   Was a key participant in the renewal of the Collective Bargaining Agreement,
           ensuring clarity was added to passages concerning the definition of unexcused
           absences, which led to in creased staff accountability and decreased use of overtime.
           That negotiations were completed in 2 weeks is a testimony to the excellent
           relationship I have established with the Union, which is facilitated by scheduled
           weekly meetings I hold vitt' the President and Vice President
       •   Worked with key GEO ttaff to address misuse of FMLA, reducing its usage by over
           90%.
       •   While the recognition of the dignity, humanity, and rights of detainees is a worthy
           goal in and of itself, I ccinvey to my Executive Staff and staff in Annual Training and
           other encounters the tnginer in which it actually supports the overriding objective of
           safety and security and demonstrably pushes back against the many false narratives
           proffered by an agenda driven media and misguided politicians. To that end. I
           regularly instruct 00 the concept of organizational justice, comprised of
           interactional/transaction justice (how is one is treated, spoken to), procedural justice
           (does one have means to raise concerns) or distributive justice (are outcomes fairly
           arrived at)_ Research st6ngly suggests that performance in these areas has a
           significant impact on tiv!h, environment and, where lacking, can lead undesirable
           outcomes (e_g., hunger itikes, food strikes, work strikes, increased discipline
           problems, and, in an extreme circumstance, violent collective outbursts).
       •   As an overt example of Practicing what I preach, I implemented a formal schedule of
           weekly "town halls" wht-e each unit is visited at a prescheduled time by the


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           Executive Staff as wet( as the Safety Manger and Maintenance Supervisor;
           participation by the Executive Staff demonstrates commitment to staff and detainees,
           while the participation .07 the Safety Manager and Maintenance Supervisor allows life
           safety issue and habitabilty issues to be directly addressed. With the Major providing
           translation into Spanish: and another staff member who speaks Punjabi also providing
           translation, I broadcast to the unit information I feel may be important to them (e.g.,
           the ICE sponsored leg& orientation program provided by the Northwest Immigrants'
           Rights Legal Orientation Program or The Advocates for Immigrants in Detention
           Northwest's visitation program) or otherwise affect them (e.g., We will be upgrading
           the 'transceivers on the-ry    s; while this will result in a clearer and sharper picture,
           there may be periods of poor reception while the work is being done. We indulge
           your patience). After shia.-ing this information, I advise the detainees that, as walk by
           their individual living ems, they should feel free to raise any issues or concerns they
           may have.
       •   To raise sanitation levels and increase detainee morale, I modified an existing
           sanitation competition; lishere each unit had one competed against 18 other units for
           the chance to win the Eist place prize of a "chicken banquet- (4 pieces of chicken
           served in addition to their regular meal) or the second place prize of the use of two X-
           boxed for a week, I created 4 divisions, where units competed against 4 to 5 other
           units for the chance to 14-in.
       •   I reconstituted the Comilnunity Advisory Board (CAB), which had become dormant.
           Through this process, I Issve been able to convey a positive image of both ICE and
           GEO. Additionally, the hoard has helped establish a crocheting program, where
           detainees, utilizing mater. als provided by GEO, crochet items for donation to under-
           privileged infants born 21 St. Joseph's hospital neonatal ward. Additionally, through
           this body a proposal, cestently pending approval by ICE, was developed to teach
           English as second language to detainees.
       •   I have undertaken a nuint er of initiatives to recognize the efforts and contributions of
           staff. Each month a staff recognition event is held, where all three shifts are provided
           a meal. (e.g., pizza:, sub sandwiches) and at least hi -annually the meal is cooked and
           served of the grill by the Executive Staff (the last such meal was Phill-y cheese steak
           sandwiches). Staff who t.meive and "above expectations" evaluation receive a
           handwritten from MC with a challenge coin attached. Staff is submitted for national
           recognition as well, with. one staff member receiving recognition as GECYs
           Transportation Officer of the Year and second being recognized for life saving aid he
           rendered to a detainee. T'inally, to specifically recognize the efforts of supervisors, I
           implemented a quarterly supervisor of the Quarter award.
       •   [have forged a strong pgrtnership with the Assistant Field Office Director (AFOlD),
           founded on transparency, integrity, and daily communication. An example of this
           partnership was the creation of a transitional housing unit for detainees who request


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          protective custody, allolsiin them. substantially more out of cell time and movement
          unrestrained.
        • I inherited what could best be described as a "stand-offish" relationship with the
          Tacoma Police Department, After a series of meetings, they conveyed a central
          concern that the previou.i facility administration had conveyed to them the
          expectation that the police department would respond to disturbances inside the
          facility. I looked the Ass stant Chief of Police directly in the eye and assured him we
          would never request his assistance for such a matter but that it was my fullest belief
          that they would respond events (e.g., protests) that transpired off the facility
          grounds. The reauiting "ar. inside is mine, all outside is yours" understanding set the
          groundwork for greatly it proved relations.
        • Coordinated the facility response in the aftermath of the July incident where
          individual set fire our GTI building, attempted to blow up a propane tank, blew up a
          vehicle, and was eventually shot and killed by the Tacoma Police Department, The
          response included my arii,/al on scene and walking and talking to staff; utilizing our
          HNT team to walk and talk; advising affected staff of EAP services; coordinating
          with various law enforceretit agencies; working with key GEO staff to recommend
          security enhancements; and meeting with local law enforcement and surrounding
          businesses to forge a mutually agreeable plan to limit access to the main arteries
          providing ingress and egress to the facility.

 Federal Correctional Complex _Lompoc
 Complex Warden (Senior Executive! Service) 'Lompoc, CA IDecember 2015 —July 2018
    • As the Chief Executive Officer (Complex Warden) Lompoc, I directly supervise six
        Executive Staff (GS -12/13/74) that are responsible for supervising approximately 470
        staff (GS -05 through GS-15): FCC Lompoc is a complex of institutions comprised of one
        medium security institution, cite low security institution, and two minimum security
        institutions (Camps) housing approximately 23700 felons convicted of various offenses. It
        has an annual budget of approximately $72 million.
    • Chaired the group of key staff that reviewed all uses of force.
    • Successfully helmed the insitition through multiple audits, including ACA. MA, and
        Joint Commission on AccreCjiation of Healthcare Organizations (JCAFT.0)
    • Achieved an average reduction of overtime expenses of $100,000 per month. Actions
        included furloughing minimnra-security inmates for medical trips, shutting down four
        housing units, effective roster management, grouping of medical trips, and increased use
        of contract providers providiNg services on site.
    • Changed mailroom policies to reduce incoming contraband, including mandating all
        correspondence be affected eir white paper with white envelopes, banned home-made
        greeting cards, mandated all t-icoming publications come directly from
        vendors/publishers only, and banned the receipt of scented correspondence. The results of
        these changes were a 90% relaction in mailroom contraband finds.

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     •Immediately upon my arrival, I ordered a review of the status of cases referred to the FBI
      for investigation and took note that very few were accepted and the majority of those that
      were accepted were declined for prosecution by the U.S. Attorney's Office. Coordinated
      and communicated with both entities and conveyed the need for the entirety of the
      criminal justice system to hold inmates accountable or criminal actions while
      incarcerated. As a result, intnates have plead guilty to/been convicted of staff assaults,
      serious inmate assaults, and drug and weapons possession.
    • I challenged staff to create luality programming opportunities in the special housing unit
      (SITU), specifically offering the opportunity for increased out of cell time. In cell
      programming includes a self-help library where inmates write essays and book reports
      and receive feedback from the psychology department. Out of cell programming takes
      place in the SHU recreation cages and is led by a psychologist who conducts Care Level
      2 group sessions consisting. of classes on criminal thinking, emotional self-regulation,
      basic cognitive skills, and Binger management. To facilitate additional out of cell
      programming! I purchased. outdoor televisions and had the facilities department mount
      them on a wall. As a result,:the psychology department now offers a video Rational
      Emotive Behavioral Therapy (REBT) program and the religious services department
      offers "SHU-GA", a yoga-based program.
    • Reduced the backlog of staff investigations and pending discipline actions by 91% by
      implementing a weekly revew process with the Human Resources Manager and Special
      Investigative Agent where f,conveyed expectations, set due dates, and monitored
      progress,
    • Coordinated with a local olanization to implement the Alternative to Violence Project
      (AVP), an internationally renowned conflict resolution program, for inmates. The
      program is conducted in three phases, with each phase occurring over two days of
      focused contact. Since May 2016 a total of 246 inmates have participated.
    • Implemented I.M.P.A.C.T cntnates Mentoring Peers Against Criminal Thinking), a
      community outreach progran targeting at risk youth, Since August 2016, the presentation
      has been given 21 times to 33 youth and has drawn raves reviews from school
      administrators, teachers, practitioners in the juvenile justice system, and community
      leaders.
    • Implemented a program of 'weekly budget review meetings to review the status of 33 cost
      centers and ensure the solvincy of all departments. This is a process I have adhered to
      since my initial appointrnerq as an Associate Warden and Thave never bad to request
      "bail out" money from a rekional office.
    • Implemented two Departrathtt of Labor Apprenticeship programs designed to assist
      inmates in achieving skills :hi'.tcessary to facilitate successful reintegration into society.
      These programs are indus* recognized and extremely cost efficient.




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     • Foster a positive image of the BOP by being a frequent presenter to community
       organizations, including the Chamber of Commerce, Rotary Club, Kiwanis Club,
       American Legion, and Elks.
     • I serve as an Associate Meitriber of the Santa Barbara County Law Enforcement Chiefs
       (CLEC), an organization cOnsisting of Chiefs of Police, Sheriffs, Chief Probation
       Officers, FBI Special-Agert-in-Charge, and United States and County District
       Attorneys. Meeting trionthfv , we discuss and address a myriad of issues impacting Santa
       Barbara County_

  Federal Correctional Institution Ray Brook
  Warden IRay Brook, NY !June 2014 —December 2015
     • As the Chief Executive Officer (Warden) at Federal Correctional Institution (FCI) Ray
         Brook, I directly supervised Four executive staff (GS-12/13/14) that were responsible for
          supervising 241 staff (GS-65 through GS-12). Ray Brook is a medium level institution
         housing approximately 1,00C1felons convicted of various federal offenses, and T.had an
         annual budget of approximately $25 million.
     • Immediately implemented Elm       aggressive hiring program that, coupled with effective
         roster management, allowed for a.40% reduction in overtime expenditures.
     • Chaired the group of key staff that reviewed all uses of force,
     • Successfully directed the invitution through its first Prison Rape Elimination Act (PREA)
         audit and American Correctional Association (ACA) re-accreditation.
     • Coordinated an. institution reintry summit attended by 28 organizations and more than 60
         people representing a cross section of government and private organizations. Forged
         numerous partnerships with whom we established concrete objectives, including
         enrolling inmates for healthiinsurance prior to release, the provision of entrepreneurial
         training in partnership with 'Defy Ventures, literacy volunteer training for inmates, the
         establishment of the Alternative to Violence Program (AVP), and a program for inmate
         graduates of the Certified Alcohol and Substance Abuse (CASAC) program to serve as
         facilitators and receive credit hours towards credentialing prior to release.
     • Personally worked with Noi-th Country Community College executive staff to return
         classroom post-secondary ed cation to FCI Ray Brook.
     • Recognizing the impact on *.itildren of having an incarcerated father, I directed the
         education department to hold two "Father/Child" literacy events for graduates of the
         institutions parenting program.
     • Upon my arrival, I met personally with the Assistant United States Attorney to emphasize
         the importance of prosecutitilg inmates found to have committed crimes while
         incarcerated.

  Federal Correctional Institution Wi1 iamsburg
  Associate Warden I Salters, SC IMay 2006 —June 2014



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     • During this time, I served %.-ariously as the Associate Warden of Operations (AWO) and
       Associate Warden of Programs (AWP) at a medium security institution housing
        approximately 1,650 inrnares and a minimum-security camp housing approximately 130
       inmates.
     • As AWO, I supervised financial management and procurement, trust fund, laundry,
       facilities, food service, safet;:r, human resources, computer resources and health services.
       In this capacity, I supervised 8 managers and approximately 80 staff and had oversight
       for an institution budget oflapproximately $30 million.
     • As the AWP, I supervised i•klrreetional services, psychology, education, recreation,
       correctional programs, and :religious services. In This capacity, I supervised 9 managers
       and approximately 220 staff
     • Upon may arrival at FCI Williamsburg I directed a project to increase security by placing
       razor wire on all interior buil] dings and the addition of "waterfalls" (cascading razor wire
       placed at areas where walls: meet at 90-degree angles) in key areas.
     • Through effective rnonitoritig and realignment of funds, the institution consistently spent
       within 1% of its budget, remained solvent without need for additional funding and was
       consistently well below the: average per capita for medium level institutions.
     • I established and monitoreC: a comprehensive monthly perpetual audit program for all
       departments under my superiision. As a result, Program Review (Bureau audits) ratings
       achieved a Superior (highest possible) rating at nearly twice the Bureau's overall rate.
     • With my motivation and ditection, a total of 19 staff achieved certification through the
       American Correctional Assaziation's (ACA) professional certification program with
       another 12-15 pursuing ceriiification when I left for my assignment as Warden at FCI Ray
       Brook.
     • I developed and implementM a series of Cross Development classes designed to assist
       staff in the completion of Cross Development Courses. Since 2009, over 1,700 courses
       were taken and 112 staff completed 100% of them.
     • Under my supervision, the ;u1,21ucation Department set institution records for GED, VT,
       ACE, and Apprenticeship completions.
     • Served as the PREA Compliiance Coordinator and successfully led the facility to its first
       PREA audit.
     • Participated in all use of foice reviews.
     • I developed a four-part serief: of Personal Financial Development seminars aimed at
       preparing staff for financial'. success that were attended by over 200 staff and spouses.
     a As the Chairperson of the Affirmative Employment Committee, Tinitiated an Outreach
       Program with a local high se:iool where staff met with at risk youth and their school
       assigned mentors. Additionidly, I initiated an Angel Tree program to provide Christmas
       gifts to a local orphanage. ifte program was so successful a second orphanage was added
       to the program.



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      •   I volunteered as a guest lecturer at Charleston Southern University concerning career
          opportunities and correctional culture and theory. In partnership with the Chair of the
          Criminal Justice Departmetii, I developed a Student Volunteer Program that was
          exceptionally well received! by the University.

  Federal Correctional Institution HEfong
  Associate Warden IHell ong, CA I September 2004 — May 2006
     • I served. at Herlong during activation phase, which entailed hiring staff and preparing
         the institution for the designated complement of inmates,
     • Working with other members of the Executive Staff, we undertook projects to harden the
         institution prior to the arrival of inmates, This included the placement of additional razor
         wire, the erection of a slowdown fence to split the compound, and the removal of
         furniture when it was detentnined the ease with which it could be converted to weapons.
         We developed and held training in the vacant housing units using live munitions_
     • I reviewed all initial Instituional Supplements and initial Post Orders and was the final
         reviewing authority for thcate under my supervision.
     • Represented the institution !;.r.  meetings with the County Board of Supervisors,
         Commanding      Officer  of the Herlong US Army Depot, local law enforcement agencies,
         the Federal Bureau of Investigation, and the Assistant U.S. Attorney.
     • Utilizing an Activation Task List, I monitored the progress towards a successful
         activation and redirected reliources as necessary. J.implemented an aggressive recruitment
         program that consisted of job fairs and newspaper and television advertisements, I
         personally reviewed all appii:ations and made recommendations for selection/non-
         selection.
  Federal Correctional Complex Beaumont
  Associate Warden IBeaumont, TX :lNovember 2000 —August 2004
     • Federal Correctional Compliex (FCC) Beaumont is complex consisting of a United States
         Penitentiary housing high security inmates, a Federal Correctional Institution housing
         medium security inmate, a federal Correctional Institution housing low security inmates
         and a Camp housing minimum security inmates, Together, the institutions house
         approximately 5,000 inmatn and employ approximately 900 staff.
     • During this period, I was the Associate Warden of Industries and exercised sole
         budgetary and operational oversight of Federal Prison Industries (UNICOR) Cut and
         Sew, Plastics, and Engine Remanufa.cturing factories. I supervised eight managers that
         collectively supervised approximately 40 staff and provided job training to approximately
         750 inmates. Collectively, the factories recorded sales in excess of $20 million on an
         annual basis.
     • All factories recorded record sales during my tenure and the Plastics factory's and Cut
         and Sew factory's performahae was such that they participated in UNICOR' s gain
         sharing program.


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     •I negotiated Memorandums ryf Understanding with Central Office staff for operational
      objectives, including inmate employment, budget, sales, and earnings.
    • After 9/11, I ordered compribensive reviews of all factory operations in anticipation of
      increased orders from the rr illitary. As a result, the Plastics factory, having consulted with
      other departments within the'. institution to develop a template, was well prepared to
      implement 24-hour operatioh.s to meet increased orders for the military's ballistic
      helmets.
    • My commitment to mentorirl resulted in my being selected as Mentor of the Year in
      2001.

 Federal Correctional Institution TallArlega
 Superintendent of Industries ITalladega, AL1December 1998 —November 2000
    a Federal Correctional Instituicn (FCI) Talladega is medium level institution housing
        approximately 1,000 medium security inmates with an adjacent secure Camp housing
        approximately 300 mini mure-security inmates.
    • During this period. I was the; Superintendent of Industries and Education (SOME) and
        was a member of the institutions Executive Staff. In this capacity, I supervised the
        Federal Prison Industries (UNICOR) operations and the Education and Recreation
        departments.
    • I exercised sole budgetary arid operational oversight of a furniture factory that specialized
        in dorm and quarter.; furniture to be placed in military barracks. Sales were in the range
        of $10 million annually. I diriectly supervised one factory manager, one quality assurance
        manager, one business manager, and one systems administrator. Collectively these
        individuals supervised an aciditional 15 staff The factory employed approximately 150
        inmates.
    • Upon arrival, I directed a comprehensive review of the factory's main supplier contract.
        As a result, I was able to have the contract terminated due to non-performance. The
        subsequent contract allowed fr more timely delivery to customers and reduced costs.
    • The operation achieved recort sales and earnings during my tenure and was selected to
        participate in UNICOR's gain sharing program.
    • During a conversion to a nevi, Enterprise Resource Management system, 1 instituted
        process of daily data review Eiof bills of material, process routings, materials ordering,
        lead times, dock-to-stock tirries, and various other critical data. As a result, the factory
        was one of three corporates de (over 80 factories) to achieve a Central Office award for




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  EDUCATION
 MASTER OF SCIENCE Crirnin晓lJustice
 Charleston Southern University
 North Charleston,SC {2018
 Graduated with 4,0 GPA.Crimin& Justice Graduate School Student 汀the
                                                                the Year nominee in
 20i7.                            .
 MBA
 Old Dominion University
 NorfolKVA }1991
 Member Phi Beta Sigma Honor Scxfety for hi 沙acade
                                             acadeuic achievement (3 .57 GPA)
 BACh】ELOR
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 劝玛iniawesleya
    iniawesleyanCollege
 Norfolk VA 日984
               984
 FNITED STAITS ARMY DRILt SERGEANTS SCROOL
 Fort Jackson,SC }August 1989
 UNITED STATES ARMY NON-COMMESIONED OFFICERS ACADEMY
 Kitzingen,Federal Repib1i0 of Gethiany !September 1988

 JOB RELATED TRAINING
 BOP Warden,National (attended annually from 2013
  to 2018)
 BOP Warden Fani1iarization
 MC Executive Training forN虑w   w Wardens
 BOP Associate Warden,Natioflal (attended annually from 2000 一2014
                                                             2014)
 GEO AnnuaJ Warden's Leadethip Conference (attended annually from 2018-2019
 CSU Contemporary Issues iii  ・
                              Ciminal Justice
 CSLT Survey of the Ciiminal Jtstice System




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                          APP.Nogx 13— D SCUMENTS RELIE ON
  4.25,23 —Responses to MTC's First Set of Requests for Production
  2021-2022 GL .Dec Page Redacted
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 Evelyn Dunn deposition w-exhibilt:'i•
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  Michael McClinton Deposition
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 MTC Responses to 2"d Set of RPD•C3.10.23
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 NITCs 2na Supplemental Response 1:0 FSI
 MTV s Responses to Third Set of P‘FP
 Plaintiff's Production l -1287
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 Rexie Wallace deposition
 Russell's Expert Designation
  Shana Carter Deposition
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 Email from Michael Petrogeorge dated May 31 detailing the increase in wages

 Email from Jarrad Garner dated May 30, forwarded from Management and Training Corporation
 detailing incentives, bonuses, recruiting efforts, and terminations of' staff




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